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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


BCS SOFTWARE, LLC,                                §
                                                  §
                       Plaintiff,                 §
                                                  §
       v.                                         §
                                                    Civil Action No. 6:21-CV-00051-ADA
                                                  §
ZOHO CORPORATION                                  §
                                                  §
                       Defendant.                 §
                                                  §

                    DECLARATION OF PHILLIP J. HAACK
         IN SUPPORT OF ZOHO CORPORATION’S MOTION TO TRANSFER


I, Phillip J. Haack, declare as follows:

       1.      I am an attorney licensed to practice law in the State of California and am a

partner with the law firm of Marton Ribera Schumann & Chang LLP, counsel for plaintiff Zoho

Corporation (“Zoho”) in this matter. I submit this declaration in support of Zoho’s Motion to

Transfer Venue to the Austin Division. I have personal knowledge of the facts set forth herein

unless otherwise indicated, and if called to testify, I could and would testify competently thereto.

       2.      Exhibit A is a true and correct copy of a printout of the home page of WacoWork,

https://wacowork.com, as of March 7, 2021.

       3.      Exhibit B is a true and correct copy of the web page at

https://members.wacowork.com/account/memberships/change, as of March 7, 2021.

       4.      Exhibit C is a true and correct copy of the web page found at http://www.bcs-

software.com/ as of March 15, 2021.

       5.      Exhibit D is a true and correct copy of the web page found at http://www.bcs-

software.com/patented-portfolio as of March 15, 2021.



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       6.      Exhibits E and F are true and correct copies of records downloaded from the

Texas Secretary of State Business Organizations Inquiry website on March 15, 2021.

       7.      Exhibits G and H are true and correct copies of records downloaded from the

Texas Comptroller of Public Accounts website on March 15, 20201

       8.      Exhibit I is a true and correct copy of the LinkedIn profile of Marlena Fitts

downloaded from LinkedIn.com on March 7, 2021.

       9.      Exhibit J is a true and correct copy of U.S. Patent No. 8,819,120 B1.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing statements are true and correct. Executed this 30th day of March 2021 in San

Francisco, CA.

                                                      /s/ Phillip J. Haack

                                                     Phillip J. Haack




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